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            IN THE UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF ARKANSAS
                     CENTRAL DIVISION


MICHAEL BOYD                                                  PLAINTIFF
ADC #115890
v.                      No. 4:20-cv-129-DPM-JJV
GREG RECHCIGL, Health
Services Administrator, East
Arkansas Regional Unit, et al.                            DEFENDANTS

                                 ORDER
      The Court adopts Magistrate Judge Volpe' s unopposed
recommendation, Doc. 72.       FED.   R. CIV. P. 72(b) (1983 addition to
advisory committee notes). Sackett's motion to dismiss, Doc. 67, is
granted.    Boyd's claims against Sackett are dismissed without
prejudice; and Sackett is dismissed as a defendant in this action. The
Court certifies that an in forma pauperis appeal from this Order would
not be taken in good faith. 28 U.S.C. § 1915(a)(3).
     So Ordered.


                                  D .P. Marshall(r.
                                  United States District Judge
